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                                                                               FOR PUBLICATION
UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------X
                                                              :    Chapter 7
In re:                                                        :
                                                              :    Case No. 18-35379 (CGM)
Kevin Jared Rosenberg,                                        :
                                                              :
                                             Petitioner.      :
                                                              :
--------------------------------------------------------------X
                                                              :
Kevin Jared Rosenberg,                                        :   Adv. No. 18-09023   (CGM)
                                                              :
                                             Plaintiff,       :
                                                              :
         v.                                                   :
                                                              :
                                                              :
N.Y. State Higher Education Services Corp., et. al, :
                                                              :
                                             Defendants. :
                                                              :
--------------------------------------------------------------X

 MEMORANDUM DECISION AND ORDER GRANTING SUMMARY JUDGMENT IN
 FAVOR OF PLAINTIFF AND DISCHARGING DEBTOR’S STUDENT LOAN UNDER
                          11 U.SC. § 523(a)(8)


APPEARANCES:

Kevin Jared Rosenberg, pro se

Kenneth L. Baum, Esq.
LAW OFFICES OF KENNETH L. BAUM LLC
167 Main Street
Hackensack, New Jersey 07601
Attorneys for Defendant, Educational Credit Management Corporation


CECELIA G. MORRIS
CHIEF UNITED STATES BANKRUPTCY JUDGE
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          The Petitioner, Kevin Jared Rosenberg, brings this summary judgment asking the Court

to declare the debt owed to Educational Credit Management Corporation (“ECMC”)

dischargeable, pursuant to § 523(a)(8). For the reasons set forth in this Memorandum Decision,

Plaintiff’s motion for summary judgment is granted. Defendant’s cross-motion for summary

judgment is denied.

                                                   Jurisdiction

          This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1334(a), 28 U.S.C. §

157(a) and the Standing Order of Reference signed by Chief Judge Loretta A. Preska dated

January 31, 2012. This is a “core proceeding” under 28 U.S.C. § 157(b)(2)(I) (determinations as

to the dischargeability of particular debts).

                                                   Background

          Petitioner filed a petition for relief under chapter 7 of the Bankruptcy Code on March 12,

2018. Vol. Pet., No. 18-35379-cgm, (Bankr. S.D.N.Y. Mar. 12, 2018), ECF No. 1. The

Petitioner received a discharge of his debts on July 26, 2019. Order Dischrg., No. 18-35379-cgm,

(Bankr. S.D.N.Y. Mar. 12, 2018), ECF No. 13.

          On June 18, 2018, the Petitioner 1 filed this adversary proceeding to have his student loan

debt declared dischargeable, pursuant to 11 U.S.C. § 523(a)(8). Complt., Adv. No. 18-09023-

cgm, (Bankr. S.D.N.Y. June 18, 2018), ECF. No. 1. 2 On November 14, 2018, the parties

entered into a consent order, which authorized ECMC to intervene in this adversary proceeding

as the “holder[] of one … federal consolidation loan owed by Plaintiff” (“Student Loan”) ECF

No. 18.

1
  Petitioner is pro se. As such, this Court will “liberally construe” his documents as required by the Supreme Court
in Erickson v. Pardus, 551 U.S. 89, 94 (2007).
2
  All citations to ECF that do not contain a case number are to the docket of this adversary proceeding, No. 18-
09023-cgm.

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       Petitioner filed a motion for summary judgement (the “Motion,” ECF No. 44) on August

27, 2019. ECMC filed a Cross Motion for Summary Judgement and opposition to Petitioner’s

motion (the “Cross Motion,” ECF No. 49) on October 8, 2019. The parties agree that there are

no genuine issues of material fact and that this issue is ripe for summary judgment. See Motion;

Cross Motion at 7, Ex. 4.

       The Court held a hearing on October 29, 2019 and asked the parties to provide the Court

with evidence as to the current promissory note, the current terms of the loan, the current

principal balance, and a payment history. ECMC filed a response which contains payment

history since consolidation of the loan. “Supp. Resp.”, ECF No. 58.

       Petitioner began borrowing money to fund his education in August 1993. Supp. Resp.,

Ex. B (loan history). From 1993 until 1996, Petitioner continued to borrow money to pay for his

undergraduate education at the University of Arizona. Id. After obtaining a Bachelor of Arts

degree in History, he served in the United States Navy on active duty for five years. Counter-

Statement of Mat. Facts ¶ 5, ECF No. 49, Ex. 3. After completing his tour of duty, Petitioner

attended Cardozo Law School at Yeshiva University where he applied for and received

additional student loans to cover his tuition and board from 2001 through 2004. Supp. Resp., Ex.

B (loan history). After graduating from law school, Petitioner consolidated his Student Loan on

April 22, 2005 in the original principal amount of $116,464.75. The total outstanding balance of

this Student Loan as of November 19, 2019 was $221,385.49 with an interest rate of 3.38% per

annum. Id. ¶ 12. The dischargeability of this Student Loan is the subject of these summary

judgment motions.




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                                             Discussion
Summary Judgment Standard

       Pursuant to Rule 56(c), incorporated by Bankruptcy Rule 7056(c) in this adversary

proceeding, summary judgment should be granted to the moving party if the Court determines

that “the pleadings, depositions, answers to interrogatories, and admissions on file, together with

affidavits, if any, show that there is no genuine issue as to any material fact and that the moving

party is entitled to judgment as a matter of law.” Celotex Corp. v. Catrett, 477 U.S. 317 (1986)

(quoting Fed. R. Civ. P. 56(c)). The materiality of facts must be determined with reference to the

governing substantive law. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). “A fact

is material only if it affects the result of the proceeding and a fact is in dispute only when the

opposing party submits evidence such that a trial would be required to resolve the differences.”

In re CIS Corp., 214 B.R. 108, 118 (Bankr.S.D.N.Y.1997).

       A movant has the initial burden of establishing the absence of any genuine issue of

material fact. Celotex, 477 U.S. at 322–23. A moving party may obtain summary judgment by

showing that little or no evidence may be found in support of the nonmoving party’s case. Gallo

v. Prudential Residential Servs. Ltd. P’ship, 22 F.3d 1219, 1223–24 (2d Cir.1994). The non-

moving party “must do more than simply show that there is some metaphysical doubt as to

material facts.” Repp v. Webber, 132 F.3d 882, 889 (2d Cir.1997). The nonmoving party should

oppose the motion for summary judgment with evidence that is admissible at trial. See Fed. R.

Civ. P. 56(e)(1); Crawford v. Dep’t of Investigation, 324 F. App’x 139, 143 (2d Cir. 2009)

(affirming award of summary judgment in favor of defendant, where plaintiff presented

testimony from uncorroborated source, as well as “speculation, hearsay and other inadmissible

rumor, and conclusory allegations”).



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Dischargeability of Student Loans under 11 U.S.C. § 523(a)(8)

       Section 523(a)(8) states:

       A discharge under section 727 . . . of this title does not discharge an individual
       debtor from any debt—unless excepting such debt from discharge under this
       paragraph would impose an undue hardship on the debtor and the debtor’s
       dependents, for—

       (A)

       (i)     an educational benefit overpayment or loan made, insured, or guaranteed
               by a governmental unit, or made under any program funded in whole or in
               part by a governmental unit or nonprofit institution; or

       (ii)    an obligation to repay funds received as an educational benefit,
               scholarship, or stipend; or

       (B) any other educational loan that is a qualified education loan, as defined in
       section 221(d)(1) of the Internal Revenue Code of 1986, incurred by a debtor who
       is an individual.

       Both the Petitioner and ECMC agree that the proper test to be applied in this instance is

Brunner v. N.Y. State Higher Educ. Servs. Corp. (In re Brunner), 831 F.2d 395, 396 (2d Cir.

1987). The test set forth in Brunner is

        (1) that the debtor cannot maintain, based on current income and expenses, a
             “minimal” standard of living for herself and her dependents if forced to
             repay the loans;
        (2) that additional circumstances exist indicating that this state of affairs is
             likely to persist for a significant portion of the repayment period of the
             student loans; and
        (3) that the debtor has made good faith efforts to repay the loans.

Id.

       Brunner has received a lot of criticism for creating too high of a burden for most

bankruptcy petitioners to meet. For petitioners like Brunner, who filed for bankruptcy

approximately seven months after receiving a degree, the Brunner test is difficult to meet. See,

e.g., Gesinde v. U.S. Dep’t. of Ed. (In re Gesinde). 2019 WL 5090080, No. 18-01434 (Bankr.



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S.D.N.Y. Oct. 10, 2019) (denying discharge of student loans where petitioner files for

bankruptcy less than one year after graduating from school). However, for a multitude of

petitioners like Mr. Rosenberg, who have been out of school and struggling with student loan

debt for many years, the test itself is fairly straight-forward and simple.

        The harsh results that often are associated with Brunner are actually the result of cases

interpreting Brunner. Over the past 32 years, many cases have pinned on Brunner punitive

standards that are not contained therein. See Briscoe v. Bank of N.Y. (In re Briscoe), 16 B.R.

128, 131 (Bankr. S.D.N.Y. 1981) (coining the infamous and oft-repeated term “certainty of

hopelessness” 3 but not applying the Brunner test, which was established six years later); see also

Jean-Baptiste v. Educ. Credit Mgmt. Corp. (In re Jean-Baptiste), 2018 WL 1267944, *10

(Bankr. E.D.N.Y Feb. 23, 2018) (requiring proof of a “certainty of hopelessness” despite the

plain and straightforward language of Brunner). Those retributive dicta were then applied and

reapplied so frequently in the context of Brunner that they have subsumed the actual language of

the Brunner test. They have become a quasi-standard of mythic proportions so much so that

most people (bankruptcy professionals as well as lay individuals) believe it impossible to

discharge student loans.

        To this end, some courts have even called it “bad faith” when someone struggling with

repaying a student loan attempts to discharge that debt in bankruptcy court. 4 See In re L.K., 351

B.R. 45, 55-56 (Bankr. E.D.N.Y. 2009) (denying discharge to debtor whose student loan debt

constituted 70% of debt scheduled in bankruptcy case); Holzer v. Wachovia Servs., Inc. (In re

3
  Of course, a harsh standard made sense when student loans were fully dischargeable after making only five years
of payments and when the total due on the loan was approximately $9,000 for both undergraduate and graduate
student loans. See Brunner v. N.Y. State Higher Ed. Serv’s. Corp. (In re Brunner), 46 B.R.753, 753 (S.D.N.Y.
1985).
4
  The Court is not insinuating that filing a bankruptcy petition in order to rid oneself of a crushing $300,000+ of
student loan debt could ever be considered “bad faith.” Bankruptcy is an available and beneficial option for anyone
struggling with debt and a petitioner under the Bankruptcy Code always has the option to come before the Court and
ask, in good faith, that a debt be discharged—no matter what kind of debt it is.

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Holzer), 33 B.R. 627, 632 (Bankr. S.D.N.Y. 1983) (good faith prong not satisfied where student

loans were only debts listed in debtor’s schedules); D’Ettore v. DeVry Inst. of Tech. (In re

D’Ettore), 106 B.R. 715, 719 (Bankr. M.D. Fla. 1989) (dismissing debtor’s complaint where

student loans constituted 82% of debtor’s total debts).

       This Court will not participate in perpetuating these myths. See Krieger v. Educs. Credit

Mgmt. Corp., 713 F.3d 882, 884 (7th Cir. 2013) (“It is important not to allow judicial glosses . . .

to supersede the statute itself.”). Rather, this Court will apply the Brunner test as it was

originally intended.

Brunner Test

   1. Whether the Petitioner cannot maintain, based on current income and expenses, a
      “minimal” standard of living for himself and his dependents if forced to repay the
      loans.

        Under the first prong of the test, the Court must determine “that the debtor cannot

maintain, based on current income and expenses, a “minimal” standard of living for [him]self

and h[is] dependents if forced to repay the loans.” Brunner, 831 F.2d at 396 (emphasis added).

It should be noted that the test asks the Court to base its determination as to whether Petitioner

can maintain a “minimal” standard of living using only Petitioner’s “current income and

expenses.” Id.

       Section 707(b)(2) codifies the “means test,” which is a formula that calculates a

bankruptcy petitioner’s average monthly disposable income over a 60-month period by

deducting statutorily specified allowable expenses, secured debt payments, and priority debt

payments from current monthly income. In re Perelman, 419 B.R. 168, 172 (Bankr. E.D.N.Y.

2009). “Current monthly income” is defined in 11 U.S.C. § 101(10A) as the average monthly

income of a debtor from all sources in the six-month period prior to commencement of the



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bankruptcy case. The authorized deductions from current monthly income are detailed in §

707(b)(2)(A)(ii-iv).

       Here, Petitioner’s means test lists his monthly income as $3,136.24 and his annual

income as $37,634.88. Ch.7 Stmt. Current Monthly Income, No. 18-35379-cgm (Bankr.

S.D.N.Y), ECF No. 1. Petitioner lists his income and expenses on schedules I &J as: $2,456.24

(income) and $4005.00 (expenses). Sched. I & J, No. 18-35379-cgm (Bankr. S.D.N.Y), ECF

No. 1. Leaving the Petitioner with a current monthly income of -$1,548.74 at the time of filing.

Thus, Petitioner has declared under penalty of perjury that he has negative income each month.

Id.

       The Bankruptcy Code presumes that a petitioner who seeks its protection “will deal

honestly and fairly with creditors by furnishing a complete and accurate schedule of assets.”

Banc. One, Texas, N.A. v. Braymer (In re Braymer), 126 B.R. 499, 503 (Bankr. N.D. Tex. 1991)

(internal quotations and citations omitted). “[T]he bankruptcy schedules and statement of

financial affairs of a debtor serve a vital role for creditors in a bankruptcy case, in that they

ensure that adequate and truthful information is available to trustees and creditors, not just an

objecting creditor, without the need for further investigation to determine whether or not the

information is true and correct.” Mullen v. Jones (In re Jones), 445 B.R. 677, 726–27

(Bankr.N.D.Tex. 2011). “Complete and honest disclosure is therefore a condition precedent to

the privilege of discharge.” Schechter v. Hansen (In re Hansen), 325 B.R 746, 757 (Bankr. N.D.

Ill. 2005); see also First United Bank & Trust Co. v. Buescher (In re Buescher), 491 B.R. 419,

432 (Bankr. E.D. Tex. 2013) (“[C]omplete financial disclosure is a condition precedent to the

privilege of discharge.”). Neither ECMC nor any other party in interest has objected to




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Petitioner’s schedules or means test and Petitioner has received a discharge. Therefore, the

Court accepts the Petitioner’s income and expenses as undisputed.

        As of the filing of this bankruptcy case, Petitioner’s Student Loan “is currently in

default.” Supp. Resp. ¶ 13. As such, his Student Loan is currently due and payable in the full

amount of $221,385.49, plus interest and costs. Petitioner has successfully proven that he cannot

immediately pay his Student Loan in full on his current income.

        Petitioner is not currently in a repayment plan nor is he eligible for one. To become

eligible for a monthly repayment plan, Petitioner would have to rehabilitate his loan by agreeing,

in writing, “to make nine voluntary, reasonable and affordable monthly payments within 20 days

of the due date, and make all nine payments during a period of 10 consecutive months.

[Petitioner]’s rehabilitation payment would depend on his current monthly income.” Id. Such an

agreement is not currently before the Court. Campbell-Ewald Co. v. Gomez, 136 S. Ct. 663, 672

(2016) (“[A]n unaccepted settlement offer or offer of judgment does not moot a plaintiff's

case.”). And the question of whether the Petitioner could maintain a minimal standard of living

while rehabilitating his Student Loan “is appropriately reserved for a case in which it is not

hypothetical.” Id.

        As the Petitioner has a negative income each month, he has no money available to repay

his Student Loan and maintain a “minimal” standard of living. This prong of the test is met.

    2. Whether additional circumstances exist indicating that this state of affairs is likely
       to persist for a significant portion of the repayment period of the student loans?

        Next, the Court must consider whether “additional circumstances[ 5] exist indicating that

this state of affairs is likely to persist for a significant portion of the repayment period of the


5
  In an unpublished decision, the Court of Appeals for the Second Circuit stated that “the second prong was not
satisfied where the debtor was not disabled or elderly, had no dependents, and no evidence was presented indicating
a total foreclosure of job prospects in her area of training.” Traversa v. Education Credit Management Corp. (In re

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student loans.” Brunner, 831 F.2d at 396 (emphasis added). It should be noted that the Brunner

test does not require the Court to make a determination that the Petitioner’s state of affairs are

going to persist forever, as ECMC argues was required in the case of Norasteh v. Boston Univ.

(In re Norasteh), 311 B.R. 671, 678 (Bankr. S.D.N.Y. 2004). Nor does the test require that the

Court make a determination about whether the Petitioner’s “state of affairs” was created by

“choice” as ECMC suggests in its papers.

         The Court need only consider whether the Petitioner’s present state of affairs is likely to

persist “for a significant portion of the repayment period of the [current contractual] student

loans.” See ABI Commission on Consumer Bankruptcy, Final Report of the ABI Commission

on Consumer Bankruptcy 2017-2019 Final Report and Recommendations, at 12 Robert M.

Lawless (2019) (recommending that “the court consider ‘the debt’ and not some different

contract the debtor and the creditor might have made under different circumstances.”).

         Here, the repayment period has ended. Petitioner is in default and his loan was

accelerated. As of November 19, 2019, Petitioner is responsible for the repayment of the full

amount of $221,385.49. His circumstances will certainly exist for the remainder of the

repayment period as the repayment period has ended and the loan is due and payable in the full

amount. The second prong of the Brunner test is, therefore, satisfied.

    3. Whether the debtor has made good faith efforts to repay the loans?

         Turning to the third and final prong, the Court must determine whether “the debtor has

made good faith efforts to repay the loans.” Brunner, 831 F.2d at 396 (emphasis added). The

Brunner test asks the Court to look at whether the Petitioner “has made” good faith efforts to

repay the loan, which indicates that the Court should only consider Petitioner’s past (i.e.

Traversa), 444 Fed. Appx. 728 (2d Cir. Oct. 28, 2011). Neither the Bankruptcy Code nor Brunner requires that a
Debtor be disabled or elderly. Section 523(a)(8) requires only that a bankruptcy court find that excepting a student
loan debt from discharge would impose an “undue hardship” on a bankruptcy petitioner.

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prepetition) behavior in repaying the loans. It is therefore inappropriate to consider: Petitioner’s

reasons for filing bankruptcy; how much debt he has; or whether the Petitioner rejected

repayment options. But see Kelly v. Sallie Mae Serv. (In re Kelly), 351 B.R. 45, 54-55 (Bankr.

E.D.N.Y. 2006) (concluding debtor failed to show good faith because she rejected consolidation

options).

       Based on the loan history provided by ECMC, Petitioner missed only 16 payments in the

almost 13 years since this Student Loan originated in April 2005. Supp. Resp., ECF No. 58. Ex.

E. From April 2005 until April 5, 2015, the loan was in deferment or forbearance. Id. No

payments were due and no late fees were charged. See id. at Exs. E & F. Thus, until April

2015—Petitioner was fully current on this debt and no payments were due. Id.

       On April 6, 2015, the loan went into income-based repayment for one year. Id. at Ex. F.

Debtor testified at his deposition that he was to make payments of “$300 a month for the first

year, and it was going to increase by a hundred dollars a month every year thereafter with a

maximum of a thousand dollars a month until it was repaid.” Response, Ex. 2 (Deposition at 154,

¶ 15-19). This has not been refuted by ECMC and matches the Student Loan payment history

provided by ECMC. During the first year of the repayment plan period, Petitioner made six

payments of varying amounts. Supp. Resp., Ex. E. (On May 26, 2015, Petitioner makes a

payment of $229.31; $500 on August 14, 2015; $300 on October 14, 2015; $346.55 on

November 3, 2015; $458.62 on January 2, 2016; $249.42 on February 21, 2016.

       His income-based repayment plan ended in April 2016 and the account was in

forbearance again from April 6, 2016 through October 5, 2016. Id. Despite the fact that no

payments were due, Petitioner continued making payments. Id. (On April 19, 2016, Petitioner




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makes a payment of $700; On July 18, 2018, Petitioner makes a payment of $50; On September

25, 2016, Petitioner makes a payment of $50).

       The Petitioner’s Student Loan entered into standard repayment period on October 6, 2016

and the Petitioner made one additional payment of $100 on February 19, 2017. Id. On January 8,

2018, account entered default and was paid in full by the guarantor. Id.

       Petitioner made 10 payments, in varying amounts, during the 26 months that the

Petitioner was responsible for making payments, which is approximately a 40% rate of payment

over a thirteen-year period. Additionally, the Petitioner did not sit back for 20 years but made a

good faith effort to repay his Student Loan. He actively called and requested forbearance on at

least five separate occasions, all of which were granted by the servicer. See Ex. F.

       The Petitioner has demonstrated a good faith effort to repay the loan and has satisfied the

“undue hardship” standard of 11 U.S.C. § 523(a)(8).

                                           Conclusion

       For the foregoing reasons, Petitioner has satisfied the Brunner test. Based on the

foregoing, it is hereby ORDERED that Student Loan imposes an undue hardship on the

Petitioner and is discharged.




                                                              /s/ Cecelia G. Morris
                                                              _______________________
Dated: January 7, 2020
                                                              Hon. Cecelia G. Morris
      Poughkeepsie, New York
                                                              Chief U.S. Bankruptcy Judge
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